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 1                                                                    HONORABLE THOMAS S. ZILLY

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 7
                                   UNITED STATES DISTRICT COURT
 8                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 9
     HUNTERS CAPITAL, LLC et al.,
10                                                       Case No. 20-cv-00983 TSZ
                             Plaintiffs,
11                                                       SUPPLEMENTAL DECLARATION OF
                 v.                                      SHANE P. CRAMER IN SUPPORT OF CITY
12                                                       OF SEATTLE’S REPLY IN SUPPORT OF
     CITY OF SEATTLE,                                    MOTION FOR SUMMARY JUDGMENT
13
                             Defendant.
14

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16          I, Shane P. Cramer, declare as follows:

17          1.        I am one of the attorneys representing the City of Seattle in this action. I am over

18   age 18, competent to be a witness, and making this declaration based on facts within my own

19   personal knowledge.

20          2.        Exhibits 1 through 50 were attached to my September 29, 2022 Declaration in

21   Support of City of Seattle’s Motion for Summary Judgment (Dkt. 112), and are not also attached to

22   this declaration.

23          3.        Attached as Exhibit 51 is a true and correct copy of excerpts from the deposition of

24   Jenny Durkan, taken in this matter on December 8, 2021.

25          4.        Attached as Exhibit 52 is a true and correct copy of Governor Jay Inslee’s March

     SUPPLEMENTAL DECLARATION OF SHANE P. CRAMER IN                                      LAW OFFICES
                                                                         HARRIGAN LEYH FARMER & THOMSEN LLP
     SUPPORT OF CITY OF SEATTLE’S REPLY IN SUPPORT OF                           999 THIRD AVENUE, SUITE 4400
                                                                                SEATTLE, WASHINGTON 98104
     MOTION FOR SUMMARY JUDGMENT - 1                                         TEL (206) 623-1700 FAX (206) 623-8717
     (Case No. 20-cv-00983 TSZ)
              Case 2:20-cv-00983-TSZ Document 152 Filed 11/15/22 Page 2 of 3




 1   23, 2020 “Stay Home – Stay Healthy” Proclamation number 20-25. This document was collected

 2   from the State’s website at https://www.governor.wa.gov/sites/default/files/proclamations/20-

 3   25%20Coronovirus%20Stay%20Safe-Stay%20Healthy%20%28tmp%29%20%28002%29.pdf on

 4   February 5, 2022 and attached as Exhibit 1 to the Declaration for Tyler Farmer in Support of City

 5   of Seattle’s Opposition to Motion for Class Certification (Dkt. No. 75-1).

 6           5.     Attached as Exhibit 53 is a true and correct copy of Executive Order 2020-04

 7   signed April 6, 2020 by Mayor Jenny Durkan. This document was collected from the City of

 8   Seattle’s website at http://clerk.seattle.gov/~CFS/CF_321660.pdf on November 15, 2022.

 9           6.     Attached as Exhibit 54 is a true and correct copy of the CDC’s Media Statement

10   dated February 29, 2020. This document was collected from the CDC’s website at

11   https://www.cdc.gov/media/releases/2020/s0229-COVID-19-first-death.html on November 15,

12   2022.

13           7.     Attached as Exhibit 55 is a true and correct copy of excerpts from the deposition of

14   Harold Scoggins, taken in this matter on September 14, 2021.

15           8.     Attached as Exhibit 56 is a true and correct copy of the Seattle City Council’s

16   Ordinance 126283 signed February18, 2021, codifying the attached excerpted 2018 Seattle Fire

17   Code. This document was collected from

18   http://seattle.legistar.com/View.ashx?M=F&ID=9220113&GUID=B72C4BDB-5FB2-4F08-9C40-

19   A3E768DFBBFD on November 15, 2022.

20           9.     Attached as Exhibit 57 is a true and correct copy of the Seattle City Council’s

21   Ordinance 125392 signed August 18, 2017, codifying as amended the 2015 Seattle Fire Code. The

22   Legislative Summary and Ordinance was collected from

23   https://seattle.legistar.com/View.ashx?M=F&ID=5506548&GUID=8A0E764E-C339-442B-841F-

24   85F0F00AF0DA on November 15, 2022. The attached excerpts from the 2015 Seattle Fire Code

25   were obtained from the City of Seattle. An electronic version of the 2015 Seattle Fire Code is

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 1   available at https://www.seattle.gov/sdci/codes/codes-we-enforce-(a-z)/fire-

 2   code#2015seattlefirecode.

 3           10.     Attached as Exhibit 58 is a true and correct copy of an excerpt from the April 28, 2022

 4   Expert Report of Arik Van Zandt in this action.

 5           11.     Attached as Exhibit 59 is a true and correct copy of the Seattle Streets Illustrated

 6   Section 1.4 Departmental Roles and Responsibilities. This document was collected from

 7   https://streetsillustrated.seattle.gov/overview/departmental-roles-and-responsibilities/ on

 8   November 15, 2022.

 9           12.     Attached as Exhibit 60 is a true and correct copy of excerpts from the deposition of

10   Seth Stoughton, taken in this matter on August 30, 2022.

11           13.     Attached as Exhibit 61 is a true and correct copy of an excerpt from the deposition

12   of Mike Malone, taken in this matter on August 22, 2022, which was inadvertently omitted from

13   Exhibit 43 (Dkt 112-43).

14           14.     Attached as Exhibit 62 is a true and correct copy of an excerpt from the deposition

15   of Matthew Ploszaj, taken in this matter on June 10, 2021, which was inadvertently omitted from

16   Exhibit 7 (Dkt 112-7).

17           I swear under the penalty of perjury under the laws of the United States that the foregoing

18   is true and correct.

19           DATED this 15th day of November, 2022, at Seattle, Washington.

20
                                                    s/ Shane P.Cramer
21                                                  SHANE P. CRAMER
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     SUPPLEMENTAL DECLARATION OF SHANE P. CRAMER IN                                      LAW OFFICES
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